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     CALIFORNIA STATE BAR NUMBER 123357
 2
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 3   1024 IRON POINT ROAD
     FOLSOM, CALIFORNIA 95630
 4   TELEPHONE: (916) 357-6701
 5
     FAX: (916) 920-7951
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 6
     ATTORNEY FOR DEFENDANT
 7   VALERIY NIKITCHUK
 8

 9

10
                        IN THE UNITED STATES DISTRICT COURT FOR THE
11
                                EASTERN DISTRICT OF CALIFORNIA
12

13

14
     UNITED STATES OF AMERICA, )              CR.NO.S-14-44--MCE
15                              )
     PLAINTIFF,                 )             STIPULATION BETWEEN THE PARTIES TO
16
                                )             CONTINUE THE STATUS CONFERENCE TO
17                   v.         )             THURSDAY, JUNE 25, 2015 WITH
                                )             EXCLUSION OF TIME FROM THE SPEEDY
18   ALEKSANDR KUZMENKO, et al.,)             TRIAL ACT AND ORDER
19
                                )
                                )
20   DEFENDANTS.                )
                                )
21   ___________________________)
22

23
           The parties to this litigation, the United States of America, represented by
24
     Assistant United States Attorney, Michele M. Beckwith, and for the defendants: 1-
25

26   Kresta N. Dally representing Aleksandr Kuzmenko.; 2- Michael L. Chastaine

27   representing Petr Kuzmenko.;
28

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 1   3- Steven B. Plesser representing Arsen Muhtarov; and 4- James R. Greiner
 2
     representing Valeriy Nikitchuk hereby agree and stipulate to the following1:
 3

 4                               1- By previous order, this matter was set for status on Thursday,

 5   February 19, 2015, see docket number 66.

 6
                                 2. By this Stipulation, the defendants collectively now move to
 7

 8   continue the status conference until Thursday, June 25, 2015 and to exclude time

 9   pursuant to the Speedy Trial Act between Thursday, February 19, 2015 and
10
     Thursday, June 25, 2015, under Local Codes T-2 (complexity due to the amount of
11
     discovery, number of defendants and potential legal issues) and T-4 (time for
12
     adequate attorney preparation). The government has produced initial discovery of
13

14   more than approximately 15,000 pages in this case, including the latest production of
15   discovery on about June 16, 2014, consisting of an additional approximate 275 pages of
16
     discovery and the government does not oppose this request. In addition, attorney
17
     James R. Greiner, was just appointed to this case on April 3, 2014 and still needs
18

19   time to continue to review the facts and discovery and to continue investigation in this

20   case and to go over the discovery with his client. . (See docket entry number 42)
21
                                 3. The parties agree and stipulate to the following and request the
22
     Court to find the following:
23
                                 a. The government has produced initial discovery to date which
24

25   consists of approximately over 15,000 pages, including the latest production of

26
                1
                    The government requested that the format presented in this stipulation be used by the
27
     parties.
28

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 1   discovery on about June 16, 2014, consisting of an additional approximate 275 pages of
 2
     discovery.
 3
                          b. Counsel for all defendants need additional time to continue to
 4

 5
     review all the discovery with their respective clients, to continue investigation into this

 6   case, continue to do research, which includes legal research, in this case, and to
 7   otherwise continue to do review and investigation, using due diligence, that this complex
 8
     case requires.
 9
                          d. Counsel for all defendants represents that the failure to grant the
10

11   above requested continuance would deny counsel for each individual defendant the

12   reasonable time necessary for effective preparation, taking into account the exercise of
13
     due diligence.
14
                          e. Petr Kuzmenko went to Trial in this district on January 12, 2015
15
     in case CR-S-11-210—JAM, which is a multi-defendant case, with four defendants and
16

17   the trial concluded on Friday, February 13, 2015, which means Mr. Kuzmenko’s
18   attorney, Mr. Michael L. Chastaine has been in trial and trial preparation for months and
19
     Mr. Chastaine needs additional time as stated herein.
20
                          f. Valeriy Nikitichuk since about October, 2014, had been in
21

22   intensive trial preparation for a trial that was to commence on March 2, 2015. That case

23   had over 3 TB of documents (best estimate is in the millions) which took the focus of Mr.
24
     Nikitichuk’s sole practioneer, Mr. James R. Greiner, for several months and Mr. Greiner
25
     needs additional time as stated herein in light of the fact Mr. Greiner was appointed on
26
     April, 2014.
27

28

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 1                        f. The government, based on all of the above, does not object to the
 2
     continuance.
 3
                          g. Based on the above stated findings, the ends of justice served by
 4

 5
     continuing the case as requested outweigh the interest of the public and all the

 6   defendants in a trial within the original date prescribed by the Speedy Trial Act.
 7                        h. For the purpose of computing the time under the Speedy Trial
 8
     Act, Title 18 U.S.C. section 3161, et seq., within which trial must commence, the time
 9
     period from Thursday, February 19, 2015 to Thursday, June 25, 2015, inclusive, is
10

11   deemed excludable pursuant to Title 18 U.S.C. 3161(h)(7)(B)(ii) which corresponds to

12   Local Code T-2 and Title 18 U.S.C. section 3161(h)(7)(B)(iv) corresponding to Local
13
     Code T-4, because it results from a continuance granted by the Court at defendants’
14
     request on the basis of the Court’s finding that both, the case is complex due to the
15
     amount of discovery and number of defendants and potential legal issues in the case
16

17   and that the ends of justice served by taking such action outweigh the best interest of
18   the public and all of the defendants in a speedy trial.
19
            4. Nothing in this stipulation and order shall preclude a finding that other
20
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
21

22   from the period within which a trial must commence.

23                        IT IS SO STIPULATED.
24
                          Each attorney has granted James R. Greiner full authority to sign
25
     for each individual attorney.
26

27

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 1        Respectfully submitted:
 2
                              BENJAMIN B. WAGNER
 3                            UNITED STATES ATTORNEY

 4   DATED: 2-13-15           /s/ Michele M. Beckwith
 5
                              _____________________________________
                              Michele M. Beckwith
 6                            ASSISTANT UNITED STATES ATTORNEY
                              ATTORNEY FOR THE PLAINTIFF
 7

 8
     DATED: 2-13-15
 9                            /s/ Kresta N. Dally
                              ___________________________________
10
                              Kresta N. Dally
11                            Attorney for Defendant
                              1- Aleksandr Kuzmenko
12

13

14   DATED: 2-13-15           /s/ Michael L. Chastaine
                              __________________________________
15                            Michael L. Chastaine
                              Attorney for Defendant
16
                              2- Petr Kuzmenko
17
     DATED: 2-13-15           /s/ Steve B. Plesser
18                            __________________________________
19
                              Steve B. Plesser
                              Attorney for Defendant
20                            3- Petr Kuzme
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 1   DATED: 2-13-15             /s/ James R. Greiner
                                ________________________________
 2
                                James R. Greiner
 3                              Attorney for Defendant
                                4- Valeriy Nikitchu
 4

 5

 6

 7

 8
                                            ORDER
 9
           IT IS SO ORDERED.
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11   Dated: February 23, 2015

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           Thursday, June 25, 2015Valeriy Nikitchuk - 6
